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Message
From: Marcus Monex [ey UNITED STATES DISTRICT COURT
Sent: 9/7/2016 10:05:01 AM NORTHERN DISTRICT OF CALIFORNIA
To: EES Terence Poon | ns TRIAL EXHIBIT 1088
Subject: Re: Moving Forward CASE NO.: CR 20-249 RS

DATE ENTERED

BY

DEPUTY CLERK

Dear Terence,

Do know that we had to change the patents because the Aten Verify project changed
completely. New patents had to be filed that the old ones did not cover and we couldn't
attach them to the old patents for ID Verification with Biometrics.

Please know Terence that I do not need you to be able to make this work. All the right
people are already in place. The funding is already secured. The reason I am reaching
out to you is out of respect, loyalty, and friendship. Everyones contracts are finally being
done right now and soon I will not be able to make any decision. All decisions will go
through the BOD's who has Officers and Directors Insurance.

We already have over $9 Million dollars per year worth of potential contracts. Companies
that have already agreed to use our product. Contracts are pending, we already have
verbal agreements in place. We also have BANKS! Letters of support will be available
within 10 days.

I always told the team that one day everything would work out for us all and now since
it is happening at a fast rate, (even though right now it is a different project) i just don't
want to leave anyone behind unless either they can't participate for various reasons or
because if i feel they deserve to be left behind.

Please remember we have an NDA on file and this information is confidential. The
website will be up in about 2 weeks which you will be able to view.

I do trust you Terence. Hope all is well.
Please see my responses to your questions below. They are highlighted in yellow.
Thanks,

Marcus

On Wednesday, September 7, 2016 10:15 AM, ' es <n yyrote:

Dear Marcus,
Thank you very much for your kind email. | appreciate this.

| am still interested in this Aten Coin project, and hence | would love to play certain role in the Aten
Group if possible.

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| am grateful to hear that.

My major concern is how much time | could contribute to this Aten Group, and who are most updated
members of the Aten Group. My current university job has prohibited me from outside practice. |
need to find a way to overcome this.

That is understandable. Maybe you can just sit on the board. The meetings will take place online 1
time a month. For the next 12 months they will be monthly, after that they will be every 3 months. You
will only be needed no more than 15 hours a month. Then afterwards only around 5 hours a month.
Also, if not you, | am ok with Irene being on the board as long as you advise her behind the scenes.

Is Aga’s Poland team still with us? The closure of the AtenPay makes me a bit worry. Furthermore,
the availability of BTC-Atencoin exchange in c-cex is a piece of shocking news to me.

So what makes you think AtenPay is closed? Sounds like you have been getting emails from Corey.
lol.
False information my friend.

Of course Aga and Igor is still with me. For various reasons | let Agnieszka Balinski and Jaroslaw go.
AtenPay i have down for now but will have it back up in a few weeks. When it comes to c-cex, think of
that as more of a testing site for Aten Coin. Also, Aga had a heart attack and was out for two months.
She is back working but only for us and not for her law firm right now. Her and Igor are apart of Aten
Group.

The break away from BTC will happen but not now. The break away from CEX will happen but now
now. For various testing reasons, marketing reasons, and funding reasons, we need to be able to
trade against btc for now. After more testing, we will be on more trading sites. | have already been in
contact with many trading sites that has agreed to list us. Right now we are doing penetration tests
and i have a 3rd party company getting ready to monitor the GVS servers and file transmissions on a
24 hour basis. | am putting that in place first and completing the penetration tests before i put more
money into Aten Coin Marketing. | assure you the break away from CEX and all trading btc related
sites will happen but not now.

| would appreciate if you could kindly update me the current plan and upcoming moves for the Aten
Coin project

Aten Coin

*more penetration tests for security, code has already been looked at and errors were found and 90%
of them have been fixed by third party. Other 10% should be finished in about 45 days.

*Get listed on more trading sites
*New marketing team will create an ambassadors program
*Continue working with Faster Payment Taskforce

*Pour 2 Million USD into Aten Coin marketing, funding secured

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*Continue creating our own payment and exchange system (AtenPay (Fiat to ATEN) we already
found a partner company that we can just tie a API into and they can handle it.) This is why AtenPay
website is down.

Remember all of the above is what is planned in the event that the sale of Aten Coin does not go
through.

as well as the key members in the Aten Group.

Key Members of Aten Group, there are a few more but you will have to get with Carl about them.
Remember Aten Group is not associated with NAC.

Carl Weir - CEO Aten Group and Board Member
https://uk.linkedin.com/in/carlweir

Andy Francombe, CFO of Aten Group and Board Member
https://uk.linkedin.com/in/andyfrancombe

Hirander Misra, Board Member
httos://uk.linkedin.com/in/hirander-misra-900379

Charles Carvosso, Board Member
Charles Carvosso | Linkedin

Igor, Board Member
Trust Fund Representatiive- TBD within next 7 days.

There are about two more board members. Carl can give you the details.
Also, Carl will be stepping down as CEO soon and Jon Hall will be replacing him.

Jon Hall, Will be our new CEO soon.

https://uk.linkedin.com/in/jonhall2

Sergey, Mansoor, & Sachin, non board members but salaried employees.

Best regards,
Terence

From: Marcus Monex
Sent: 201647978 5:57

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To: Terence Poon: Terence Poon
Subject: Moving Forward

Hello Terence,

| haven't heard from you in a while. | am just reaching out to you so that | can finalize some things.
1) You have the 500K plus coins that you well deserve for all the work you have done for Aten Coin.
Any continuous work will be appreciated. | did consider you a partner in NAC and | still do. The sale
of NAC is on hold right now but | do believe it will go through soon.

2) Aten Group, I need to know if you are willing to play any role in this company. | need to know this
soon because right now | am able to make decisions solely by myself but within 3 weeks, | am no
longer able to make any decisions. Decisions will be done by the Board of Directors.

Please know a quick response in this email is needed.

You will surely regret it in the future if you pass this one up Terence. | am offering this to you out of
respect for you and appreciation for all you have done for me (advising) me in the past.

Thanks,

Marcus

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